 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                         Western District of Washington

 Case number (if known):                                            Chapter     7                                                      ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Mad About Gardening, LLC


    2. All other names debtor used                Toland Flags
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  2       7 – 1    0   4    3   5   1   0
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business




                                                   26296 Twelve Trees Ln NW, Ste 100
                                                   Number          Street                                      Number        Street

                                                   Poulsbo, WA 98370-9435
                                                   City                                 State   ZIP Code       City                              State      ZIP Code

                                                                                                               Location of principal assets, if different from principal
                                                   Kitsap                                                      place of business
                                                   County




                                                                                                               Number        Street



                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)                     tolandflags.com


    6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:



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                    Case 24-11395-CMA                        Doc 1          Filed 06/04/24        Ent. 06/04/24 10:15:35                Pg. 1 of 59
Debtor      Mad About Gardening, LLC                                                                            Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                   4      2     4    9

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ✔ Chapter 7
                                                ❑
       debtor filing?

     A debtor who is a “small business
                                                ❑ Chapter 9
     debtor” must check the first subbox. A     ❑ Chapter 11. Check all that apply:
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V          ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
                                                   ❑
     of chapter 11 (whether or not the                        noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                            operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                       ❑ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                              debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                              proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                              balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                       ❑ A plan is being filed with this petition.
                                                       ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                              accordance with 11 U.S.C. § 1126(b).
                                                       ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                              Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                              (Official Form 201A) with this form.
                                                       ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                       When                    Case number
                                                                                                             MM / DD / YYYY
     If more than 2 cases, attach a                       District                                     When                    Case number
     separate list.
                                                                                                              MM / DD / YYYY

  10. Are any bankruptcy cases pending          ❑ No
                                                ✔ Yes. Debtor Bruce Solly and Traci Tanner
      or being filed by a business partner
      or an affiliate of the debtor?            ❑                                                                             Relationship Managing
                                                                                                                                            Member
     List all cases. If more than 1, attach a
     separate list.                                       District Western District of Washington                              When
                                                                                                                                             MM / DD / YYYY
                                                          Case number, if known


Official Form 201                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                    Case 24-11395-CMA                   Doc 1         Filed 06/04/24            Ent. 06/04/24 10:15:35                Pg. 2 of 59
Debtor        Mad About Gardening, LLC                                                                   Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:
      district?
                                      ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      ❑
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                      ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have     ✔ No
                                      ❑
      possession of any real
      property or personal property
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?                                ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑ It needs to be physically secured or protected from the weather.
                                                ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ❑ Other
                                                Where is the property?
                                                                          Number        Street




                                                                          City                                         State    ZIP Code
                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes.        Insurance agency
                                                              Contact name
                                                              Phone


          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ✔ Funds will be available for distribution to unsecured creditors.
                                      ❑
                                      ❑ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                         creditors.

         14. Estimated number of
                                       ✔ 1-49 ❑ 50-99
                                       ❑                                  ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                 ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets          ❑ $0-$50,000                          ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                       ❑ $50,001-$100,000                    ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                       ✔ $100,001-$500,000
                                       ❑                                     ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                       ❑ $500,001-$1 million                 ❑ $100,000,001-$500 million               ❑ More than $50 billion




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3
                    Case 24-11395-CMA              Doc 1        Filed 06/04/24           Ent. 06/04/24 10:15:35                  Pg. 3 of 59
Debtor        Mad About Gardening, LLC                                                                         Case number (if known)
             Name



                                            ❑ $0-$50,000                              ✔ $1,000,001-$10 million
                                                                                      ❑                                        ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑ $10,000,001-$50 million                ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                       ❑ $50,000,001-$100 million               ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                     ❑ $100,000,001-$500 million              ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on     06/04/2024
                                                                   MM/ DD/ YYYY



                                               ✘ /s/ Bruce W. Solly                                                                    Bruce W. Solly
                                                   Signature of authorized representative of debtor                 Printed name



                                                   Title           Owner/Managing Member



         18. Signature of attorney
                                               ✘                   /s/ Kathryn P. Scordato                          Date      06/04/2024
                                                   Signature of attorney for debtor                                           MM/ DD/ YYYY




                                                    Kathryn P. Scordato
                                                   Printed name


                                                    Scordato Law, PLLC
                                                   Firm name


                                                    PO Box 1962
                                                   Number          Street


                                                    Seattle                                                            WA               98111-1962
                                                   City                                                               State            ZIP Code



                                                    (206) 223-9595                                                      kathryn@scordatolaw.com
                                                   Contact phone                                                       Email address



                                                    41922                                                               WA
                                                   Bar number                                                          State




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                    Case 24-11395-CMA                  Doc 1         Filed 06/04/24              Ent. 06/04/24 10:15:35                  Pg. 4 of 59
Debtor      Mad About Gardening, LLC                                                          Case number (if known)
           Name




         Additional Page


 10. Continued

                                 Debtor Marketing Resource Group, Inc.                        Relationship Managing
                                                                                                          Member of
                                                                                                          Debtor is
                                                                                                          President and
                                                                                                          Minority
                                                                                                          Shareholder
                                 District Western District of Washington                      When
                                                                                                           MM / DD / YYYY
                                 Case number, if known




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 5
                    Case 24-11395-CMA      Doc 1         Filed 06/04/24        Ent. 06/04/24 10:15:35              Pg. 5 of 59
 Fill in this information to identify the case:

  Debtor Name       Mad About Gardening, LLC

  United States Bankruptcy Court for the:                Western             District of   Washington
                                                                                               (State)
  Case number (If
  known):                                                                                                                                   ❑ Check if this is an
                                                                                                                                                amended filing


Official Form 206A/B

Schedule A/B: Assets — Real and Personal Property                                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book
value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list
them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is
attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
 depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not
 deduct the value of secured claims. See the instructions to understand the terms used in this form.

      Part 1:      Cash and cash equivalents

 1.      Does the debtor have any cash or cash equivalents?

         ❑ No. Go to Part 2.
         ✔ Yes. Fill in the information below.
         ❑
         All cash or cash equivalents owned or controlled by the debtor                                                                     Current value of
                                                                                                                                            debtor’s interest

 2.      Cash on hand

 3.      Checking, savings, money market, or financial brokerage accounts (Identify all)

         Name of institution (bank or brokerage firm)           Type of account                           Last 4 digits of account number

         3.1. Banner Bank                                          Checking account                        1    6    0    1                                $144.42

 4.      Other cash equivalents (Identify all)

         4.1

         4.2


 5.      Total of Part 1
                                                                                                                                                         $144.42
         Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


      Part 2:      Deposits and prepayments

 6.      Does the debtor have any deposits or prepayments?

         ✔ No. Go to Part 3.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                                            Current value of
                                                                                                                                            debtor’s interest

 7.      Deposits, including security deposits and utility deposits

         Description, including name of holder of deposit

         7.1

         7.2


Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                                       page 1



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Debtor           Mad About Gardening, LLC                                                                 Case number (if known)
                 Name




 8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

         Description, including name of holder of prepayment

         8.1

         8.2


 9.      Total of Part 2
         Add lines 7 through 8. Copy the total to line 81.


      Part 3:        Accounts receivable

 10.     Does the debtor have any accounts receivable?

         ✔ No. Go to Part 4.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                                         Current value of
                                                                                                                                         debtor’s interest

 11.     Accounts receivable

         11a. 90 days old or less:                                    -                                               ➔
                                                                                                                 =.....
                                     face amount                          doubtful or uncollectible accounts

         11b. Over 90 days old:                                       -                                               ➔
                                                                                                                 =.....
                                     face amount                          doubtful or uncollectible accounts


 12.     Total of Part 3
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


      Part 4:        Investments

 13.     Does the debtor own any investments?

         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                 Valuation method used   Current value of
                                                                                                                 for current value       debtor’s interest

 14.     Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:

         14.1

         14.2


 15.     Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture

         Name of entity:                                                                     % of
                                                                                             ownership:

         15.1.

         15.2.

 16.     Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1

         Describe:



Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                     page 2



                 Case 24-11395-CMA                    Doc 1         Filed 06/04/24              Ent. 06/04/24 10:15:35               Pg. 7 of 59
Debtor          Mad About Gardening, LLC                                                           Case number (if known)
                Name




         16.1

         16.2


 17.     Total of Part 4
         Add lines 14 through 16. Copy the total to line 83.


   Part 5:         Inventory, excluding agriculture assets

 18.     Does the debtor own any inventory (excluding agriculture assets)?

         ❑ No. Go to Part 6.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                   Date of the last     Net book value of      Valuation method used   Current value of
                                                               physical inventory   debtor's interest      for current value       debtor’s interest

                                                                                    (Where available)

 19.     Raw materials


                                                               MM / DD / YYYY


 20.     Work in progress


                                                               MM / DD / YYYY


 21.     Finished goods, including goods held for resale

         Finished Goods                                           12/31/2023              $130,325.08                                        $130,325.08
                                                               MM / DD / YYYY


 22.     Other inventory or supplies


                                                               MM / DD / YYYY


 23.     Total of Part 5
                                                                                                                                           $130,325.08
         Add lines 19 through 22. Copy the total to line 84.


 24.     Is any of the property listed in Part 5 perishable?

         ✔ No
         ❑
         ❑ Yes
 25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                      Current value

 26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 6:         Farming and fishing-related assets (other than titled motor vehicles and land)

 27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.

Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                page 3


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Debtor         Mad About Gardening, LLC                                                           Case number (if known)
              Name




         General description                                                       Net book value of      Valuation method used   Current value of
                                                                                   debtor's interest      for current value       debtor’s interest

                                                                                   (Where available)

 28.     Crops—either planted or harvested




 29.     Farm animals Examples: Livestock, poultry, farm-raised fish




 30.     Farm machinery and equipment (Other than titled motor vehicles)




 31.     Farm and fishing supplies, chemicals, and feed




 32.     Other farming and fishing-related property not already listed in Part 6




 33.     Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.


 34.     Is the debtor a member of an agricultural cooperative?

         ✔ No
         ❑
         ❑ Yes. Is any of the debtor’s property stored at the cooperative?
            ❑ No
            ❑ Yes
 35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                     Current value

 36.     Is a depreciation schedule available for any of the property listed in Part 6?

         ✔ No
         ❑
         ❑ Yes
 37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 7:         Office furniture, fixtures, and equipment; and collectibles

 38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                       Net book value of      Valuation method used   Current value of
                                                                                   debtor's interest      for current value       debtor’s interest

                                                                                   (Where available)

 39.     Office furniture



Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                               page 4



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Debtor          Mad About Gardening, LLC                                                             Case number (if known)
                Name




 40.     Office fixtures




 41.     Office equipment, including all computer equipment and
         communication systems equipment and software

         5 Sublimation Printers                                                               $36,465.54                                        $36,465.54

         1 Mat Applicator/Bander/Sealer (Custom MO-VLAP-M)                                    $12,801.44                                        $12,801.44

         1 Autobagger                                                                         $24,405.10                                        $24,405.10

         2 Packaging Equipment/Machines                                                       $33,373.60                                        $33,373.60


 42.     Collectibles Examples: Antiques and figurines; paintings, prints, or other
         artwork; books, pictures, or other art objects; china and crystal; stamp,
         coin, or baseball card collections; other collections, memorabilia, or
         collectibles

         42.1

         42.2

         42.3


 43.     Total of Part 7
                                                                                                                                            $107,045.68
         Add lines 39 through 42. Copy the total to line 86.


 44.     Is a depreciation schedule available for any of the property listed in Part 7?

         ❑ No
         ✔ Yes
         ❑
 45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 8:         Machinery, equipment, and vehicles

 46.     Does the debtor own or lease any machinery, equipment, or vehicles?

         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                          Net book value of     Valuation method used   Current value of
                                                                                      debtor's interest     for current value       debtor’s interest
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or
         N-number)                                                                    (Where available)

 47.     Automobiles, vans, trucks, motorcycles, trailers, and titled farm
         vehicles

         47.1

         47.2

         47.3

         47.4




Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                 page 5

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Debtor          Mad About Gardening, LLC                                                              Case number (if known)
                Name




 48.     Watercraft, trailers, motors, and related accessories Examples:
         Boats, trailers, motors, floating homes, personal watercraft, and fishing
         vessels

         48.1

         48.2


 49.     Aircraft and accessories

         49.1

         49.2


 50.     Other machinery, fixtures, and equipment (excluding farm
         machinery and equipment)




 51.     Total of Part 8
         Add lines 47 through 50. Copy the total to line 87.


 52.     Is a depreciation schedule available for any of the property listed in Part 8?

         ✔ No
         ❑
         ❑ Yes
 53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 9:         Real property

 54.     Does the debtor own or lease any real property?

         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Fill in the information below.
 55.     Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

         Description and location of property                  Nature and extent      Net book value of        Valuation method used   Current value of
         Include street address or other description such      of debtor’s interest   debtor's interest        for current value       debtor’s interest
         as Assessor Parcel Number (APN), and type of          in property
         property (for example, acreage, factory,                                     (Where available)
         warehouse, apartment or office building), if
         available.

         55.1

         55.2

         55.3

         55.4

         55.5

         55.6


 56.     Total of Part 9
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.




Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                   page 6


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Debtor         Mad About Gardening, LLC                                                          Case number (if known)
              Name




 57.     Is a depreciation schedule available for any of the property listed in Part 9?

         ✔ No
         ❑
         ❑ Yes
 58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 10:          Intangibles and intellectual property

 59.     Does the debtor have any interests in intangibles or intellectual property?

         ❑ No. Go to Part 11.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                      Net book value of      Valuation method used    Current value of
                                                                                  debtor's interest      for current value        debtor’s interest

                                                                                  (Where available)

 60.     Patents, copyrights, trademarks, and trade secrets




 61.     Internet domain names and websites

         tolandflags.com                                                                    unknown                                            unknown


 62.     Licenses, franchises, and royalties




 63.     Customer lists, mailing lists, or other compilations

         Mailing List and Customer Database                                                $5,000.00                                           $5,000.00


 64.     Other intangibles, or intellectual property




 65.     Goodwill




 66.     Total of Part 10
                                                                                                                                             $5,000.00
         Add lines 60 through 65. Copy the total to line 89.


 67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

         ❑ No
         ✔ Yes
         ❑
 68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?

         ✔ No
         ❑
         ❑ Yes
 69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes


Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                              page 7


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Debtor         Mad About Gardening, LLC                                                                Case number (if known)
               Name




  Part 11:         All other assets

 70.     Does the debtor own any other assets that have not yet been reported on this form?
         Include all interests in executory contracts and unexpired leases not previously reported on this form.

         ✔ No. Go to Part 12.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                                          Current value of
                                                                                                                                          debtor’s interest

 71.     Notes receivable

         Description (include name of obligor)

                                                                                      –                                         =   ➔
                                                               Total face amount          doubtful or uncollectible amount


 72.     Tax refunds and unused net operating losses (NOLs)

         Description (for example, federal, state, local)

                                                                                                         Tax year

                                                                                                         Tax year

                                                                                                         Tax year


 73.     Interests in insurance policies or annuities




 74.     Causes of action against third parties (whether or not a lawsuit has
         been filed)



         Nature of claim

         Amount requested


 75.     Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims



         Nature of claim

         Amount requested


 76.     Trusts, equitable or future interests in property




 77.     Other property of any kind not already listed Examples: Season
         tickets, country club membership




 78.     Total of Part 11
         Add lines 71 through 77. Copy the total to line 90.



Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                                     page 8



             Case 24-11395-CMA                       Doc 1        Filed 06/04/24              Ent. 06/04/24 10:15:35                    Pg. 13 of 59
Debtor           Mad About Gardening, LLC                                                                                            Case number (if known)
                Name




 79.     Has any of the property listed in Part 11 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 12:            Summary


 In Part 12 copy all of the totals from the earlier parts of the form.


         Type of property                                                                                        Current value of                         Current value
                                                                                                                 personal property                        of real property

 80.     Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                                         $144.42

 81.     Deposits and prepayments. Copy line 9, Part 2.

 82.     Accounts receivable. Copy line 12, Part 3.

 83.     Investments. Copy line 17, Part 4.

 84.     Inventory. Copy line 23, Part 5.                                                                                     $130,325.08

 85.     Farming and fishing-related assets. Copy line 33, Part 6.

 86.     Office furniture, fixtures, and equipment; and collectibles.
                                                                                                                              $107,045.68
         Copy line 43, Part 7.

 87.     Machinery, equipment, and vehicles. Copy line 51, Part 8.


 88.     Real property. Copy line 56, Part 9..........................................................................................   ➔
 89.     Intangibles and intellectual property. Copy line 66, Part 10.                                                           $5,000.00

 90.     All other assets. Copy line 78, Part 11.                                                           +

 91.     Total. Add lines 80 through 90 for each column............................91a.                                      $242,515.18        + 91b.


 92.     Total of all property on Schedule A/B. Lines 91a + 91b = 92. .....................................................................................................    $242,515.18




Official Form 206A/B                                                 Schedule A/B: Assets — Real and Personal Property                                                               page 9


               Case 24-11395-CMA                                  Doc 1              Filed 06/04/24                      Ent. 06/04/24 10:15:35                       Pg. 14 of 59
 Fill in this information to identify the case:

     Debtor name     Mad About Gardening, LLC

     United States Bankruptcy Court for the:                 Western                 District of      Washington
                                                                                                   (State)
     Case number (if known):                                                                                                                         ❑ Check if this is an
                                                                                                                                                         amended filing

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one                  Column A                       Column B
        secured claim, list the creditor separately for each claim.                                                        Amount of claim                Value of collateral
                                                                                                                           Do not deduct the value        that supports this
                                                                                                                           of collateral.                 claim

 2.1 Creditor’s name                                         Describe debtor’s property that is subject to a lien
         Amazon Capital Services, Inc.                       Banner Bank, Finished Goods                                                $31,285.80               $130,469.50

        Creditor’s mailing address                           Describe the lien

         410 Terry Ave N                                      UCC Lien

         Seattle, WA 98109                                   Is the creditor an insider or related party?
                                                             ✔ No
                                                             ❑
                                                             ❑ Yes
        Creditor’s email address, if known

                                                             Is anyone else liable on this claim?
        Date debt was incurred             1/30/2019         ❑ No
                                                             ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                             ❑
        Last 4 digits of account       3    3   2       6
        number                                               As of the petition filing date, the claim is:
                                                             Check all that apply.
        Do multiple creditors have an interest in
        the same property?                                   ❑ Contingent
        ❑ No                                                 ❑ Unliquidated
        ✔ Yes. Specify each creditor, including this
        ❑                                                    ❑ Disputed
                 creditor, and its relative priority.
                 For Banner Bank: 1) Amazon
                 Capital Services, Inc.; 2) LG
                 Funding, LLC; 3) OnDeck; 4) US
                 Small Business Administration; 5)
                 Paypal, Inc.; 6) Onramp; For
                 Finished Goods: 1) Amazon
                 Capital Services, Inc.; 2) OnDeck;
                 3) US Small Business
                 Administration; 4) Paypal, Inc.; 5)
                 Onramp




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  $913,633.06
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 11




                Case 24-11395-CMA                           Doc 1       Filed 06/04/24                   Ent. 06/04/24 10:15:35                 Pg. 15 of 59
Debtor       Mad About Gardening, LLC                                                                  Case number (if known)
          Name




   Part 1:        Additional Page                                                                                       Column A                  Column B
                                                                                                                        Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                        Do not deduct the value   that supports this
 previous page.                                                                                                         of collateral.            claim

2.2 Creditor’s name                                       Describe debtor’s property that is subject to a lien
      CIT/Direct Capital                                  5 Sublimation Printers                                                      $9,950.16           $36,465.54

     Creditor’s mailing address                           Describe the lien

      155 Commerce Way
      Portsmouth, NH 03801-3243                           Is the creditor an insider or related party?
                                                          ✔ No
                                                          ❑
     Creditor’s email address, if known
                                                          ❑ Yes
                                                          Is anyone else liable on this claim?
     Date debt was incurred             2/2/2021          ❑ No
                                                          ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                          ❑
     Last 4 digits of account       2      0   0     0
     number                                               As of the petition filing date, the claim is:
                                                          Check all that apply.
     Do multiple creditors have an interest in
     the same property?                                   ❑ Contingent
     ❑ No                                                 ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                    ❑ Disputed
               relative priority?
         ✔ No. Specify each creditor, including
         ❑
                   this creditor, and its relative
                   priority.
                   1) CIT/Direct Capital; 2)
                   OnDeck; 3) US Small Business
                   Administration; 4) Paypal, Inc.;
                   5) Onramp
         ❑ Yes. The relative priority of creditors
                   is specified on lines

     Remarks: Creditor secured on 2 printers, described as follows in the UCC Filing as follows:
              "QTY (1): Mutoh RJ-900X 44" Printer Inkjet with stands
              QTY (1): Take Up System RJ 900X mutoh Printer
              Together with all replacements, parts, repairs, additions, accessions and accessories incorporated therein or affixed thereto and any and all
              proceeds of the foregoing, including, without limitation, insurance proceeds."




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 2 of 11




             Case 24-11395-CMA                           Doc 1       Filed 06/04/24               Ent. 06/04/24 10:15:35                     Pg. 16 of 59
Debtor       Mad About Gardening, LLC                                                                  Case number (if known)
          Name




   Part 1:        Additional Page                                                                                       Column A                  Column B
                                                                                                                        Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                        Do not deduct the value   that supports this
 previous page.                                                                                                         of collateral.            claim

2.3 Creditor’s name                                       Describe debtor’s property that is subject to a lien
      CIT/Direct Capital                                  1 Mat Applicator/Bander/Sealer (Custom MO-VLAP-M)                          $13,960.44           $12,801.44

     Creditor’s mailing address                           Describe the lien

      155 Commerce Way
      Portsmouth, NH 03801-3243                           Is the creditor an insider or related party?
                                                          ✔ No
                                                          ❑
     Creditor’s email address, if known
                                                          ❑ Yes
                                                          Is anyone else liable on this claim?
     Date debt was incurred             7/8/2022          ❑ No
                                                          ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                          ❑
     Last 4 digits of account       0      0   0     0
     number                                               As of the petition filing date, the claim is:
                                                          Check all that apply.
     Do multiple creditors have an interest in
     the same property?                                   ❑ Contingent
     ❑ No                                                 ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                    ❑ Disputed
               relative priority?
         ✔ No. Specify each creditor, including
         ❑
                   this creditor, and its relative
                   priority.
                   1) CIT/Direct Capital; 2)
                   OnDeck; 3) US Small Business
                   Administration; 4) Paypal, Inc.;
                   5) Onramp
         ❑ Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 3 of 11




             Case 24-11395-CMA                           Doc 1       Filed 06/04/24               Ent. 06/04/24 10:15:35                     Pg. 17 of 59
Debtor       Mad About Gardening, LLC                                                               Case number (if known)
          Name




   Part 1:        Additional Page                                                                                    Column A                  Column B
                                                                                                                     Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                     Do not deduct the value   that supports this
 previous page.                                                                                                      of collateral.            claim

2.4 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      LG Funding, LLC                                  Banner Bank                                                                $66,600.00              $144.42

     Creditor’s mailing address                        Describe the lien

      1218 Union St                                    UCC Lien

      Brooklyn, NY 11225-1512                          Is the creditor an insider or related party?
                                                       ✔ No
                                                       ❑
                                                       ❑ Yes
     Creditor’s email address, if known

                                                       Is anyone else liable on this claim?
     Date debt was incurred            5/6/2024        ✔ No
                                                       ❑
                                                       ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of account
     number                                            As of the petition filing date, the claim is:
                                                       Check all that apply.
     Do multiple creditors have an interest in
     the same property?                                ❑ Contingent
     ❑ No                                              ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                 ❑ Disputed
               relative priority?
         ❑ No. Specify each creditor, including
                   this creditor, and its relative
                   priority.



         ✔ Yes. The relative priority of creditors
         ❑
                   is specified on lines 2.1




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 4 of 11




             Case 24-11395-CMA                       Doc 1        Filed 06/04/24               Ent. 06/04/24 10:15:35                     Pg. 18 of 59
Debtor       Mad About Gardening, LLC                                                                  Case number (if known)
          Name




   Part 1:        Additional Page                                                                                       Column A                  Column B
                                                                                                                        Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                        Do not deduct the value   that supports this
 previous page.                                                                                                         of collateral.            claim

2.5 Creditor’s name                                       Describe debtor’s property that is subject to a lien
      OnDeck                                              Banner Bank, Finished Goods, Mailing List and                            $210,271.30          $242,515.18
                                                          Customer Database, tolandflags.com, 1 Autobagger, 1
     Creditor’s mailing address                           Mat Applicator/Bander/Sealer (Custom MO-VLAP-M), 2
                                                          Packaging Equipment/Machines, 5 Sublimation Printers
      Attn: Director of Operations
                                                          Describe the lien
      4700 W Daybreak Pkwy Ste 200
                                                           UCC Lien
      South Jordan, UT 84009-5133
                                                          Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                          ✔ No
                                                          ❑
                                                          ❑ Yes
     Date debt was incurred           12/13/2023          Is anyone else liable on this claim?
                                                          ❑ No
     Last 4 digits of account       3      7   7     7    ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                          ❑
     number

     Do multiple creditors have an interest in            As of the petition filing date, the claim is:
     the same property?                                   Check all that apply.

     ❑ No                                                 ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                    ❑ Unliquidated
               relative priority?                         ❑ Disputed
         ✔ No. Specify each creditor, including
         ❑
                   this creditor, and its relative
                   priority.
                   See continuation page.
         ❑ Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 5 of 11




             Case 24-11395-CMA                           Doc 1       Filed 06/04/24               Ent. 06/04/24 10:15:35                     Pg. 19 of 59
Debtor       Mad About Gardening, LLC                                                                Case number (if known)
          Name




   Part 1:        Additional Page                                                                                     Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.6 Creditor’s name                                     Describe debtor’s property that is subject to a lien
      Onramp                                            1 Autobagger, 1 Mat Applicator/Bander/Sealer (Custom                       $72,599.73         $242,515.18
                                                        MO-VLAP-M), 2 Packaging Equipment/Machines, 5
     Creditor’s mailing address                         Sublimation Printers, Banner Bank, Finished Goods,
                                                        Mailing List and Customer Database, tolandflags.com
      1705 S Capital of Texas Hwy
                                                        Describe the lien
      Austin, TX 78746-6578
                                                        UCC Lien filed on 5/21/24
     Creditor’s email address, if known
                                                        Is the creditor an insider or related party?
                                                        ✔ No
                                                        ❑
     Date debt was incurred             3/29/24         ❑ Yes
     Last 4 digits of account                           Is anyone else liable on this claim?
     number                                             ❑ No
                                                        ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                        ❑
     Do multiple creditors have an interest in
     the same property?
                                                        As of the petition filing date, the claim is:
     ❑ No                                               Check all that apply.
     ✔ Yes. Have you already specified the
     ❑                                                  ❑ Contingent
               relative priority?
                                                        ❑ Unliquidated
         ❑ No. Specify each creditor, including         ✔ Disputed
                                                        ❑
                   this creditor, and its relative
                   priority.



         ✔ Yes. The relative priority of creditors
         ❑
                   is specified on lines
                     2.1, 2.2, 2.3, 2.5




Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 6 of 11




             Case 24-11395-CMA                       Doc 1         Filed 06/04/24               Ent. 06/04/24 10:15:35                     Pg. 20 of 59
Debtor       Mad About Gardening, LLC                                                                Case number (if known)
          Name




   Part 1:        Additional Page                                                                                     Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.7 Creditor’s name                                     Describe debtor’s property that is subject to a lien
      Paypal, Inc.                                      1 Autobagger, 1 Mat Applicator/Bander/Sealer (Custom                       $15,053.94         $242,515.18
                                                        MO-VLAP-M), 2 Packaging Equipment/Machines, 5
     Creditor’s mailing address                         Sublimation Printers, Banner Bank, Finished Goods,
                                                        Mailing List and Customer Database, tolandflags.com
      Attn: Legal Specialists
                                                        Describe the lien
      PO Box 45950
      Omaha, NE 68145-0950
                                                        Is the creditor an insider or related party?
     Creditor’s email address, if known                 ✔ No
                                                        ❑
                                                        ❑ Yes
     Date debt was incurred           11/15/2023        Is anyone else liable on this claim?
                                                        ❑ No
     Last 4 digits of account                           ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                        ❑
     number
                                                        As of the petition filing date, the claim is:
     Do multiple creditors have an interest in
                                                        Check all that apply.
     the same property?
     ❑ No                                               ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                  ❑ Unliquidated
               relative priority?                       ❑ Disputed
         ❑ No. Specify each creditor, including
                   this creditor, and its relative
                   priority.



         ✔ Yes. The relative priority of creditors
         ❑
                   is specified on lines
                     2.1, 2.2, 2.3, 2.5




Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 7 of 11




             Case 24-11395-CMA                       Doc 1         Filed 06/04/24               Ent. 06/04/24 10:15:35                     Pg. 21 of 59
Debtor       Mad About Gardening, LLC                                                                Case number (if known)
          Name




   Part 1:        Additional Page                                                                                     Column A                  Column B
                                                                                                                      Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                      Do not deduct the value   that supports this
 previous page.                                                                                                       of collateral.            claim

2.8 Creditor’s name                                     Describe debtor’s property that is subject to a lien
      US Small Business Administration                  1 Autobagger, 1 Mat Applicator/Bander/Sealer (Custom                     $493,911.69          $242,515.18
                                                        MO-VLAP-M), 2 Packaging Equipment/Machines, 5
     Creditor’s mailing address                         Sublimation Printers, Banner Bank, Finished Goods,
                                                        Mailing List and Customer Database, tolandflags.com
      CESC - COVID EIDL Service
      Center                                            Describe the lien

      14925 Kingsport Rd                                 UCC Lien

      Fort Worth, TX 76155-2243                         Is the creditor an insider or related party?
                                                        ✔ No
                                                        ❑
     Creditor’s email address, if known
                                                        ❑ Yes
                                                        Is anyone else liable on this claim?
     Date debt was incurred             6/20/2020       ❑ No
                                                        ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                        ❑
     Last 4 digits of account       7      9   0   3
     number                                             As of the petition filing date, the claim is:
                                                        Check all that apply.
     Do multiple creditors have an interest in
     the same property?                                 ❑ Contingent
     ❑ No                                               ❑ Unliquidated
     ✔ Yes. Have you already specified the
     ❑                                                  ❑ Disputed
               relative priority?
         ❑ No. Specify each creditor, including
               this creditor, and its relative
               priority.



         ✔ Yes. The relative priority of creditors
         ❑
                   is specified on lines
                     2.1, 2.2, 2.3, 2.5




Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 8 of 11




             Case 24-11395-CMA                         Doc 1       Filed 06/04/24               Ent. 06/04/24 10:15:35                     Pg. 22 of 59
Debtor       Mad About Gardening, LLC                                                      Case number (if known)
          Name




   Part 1:       Additional Page                                                                           Column A                  Column B
                                                                                                           Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the           Do not deduct the value   that supports this
 previous page.                                                                                            of collateral.            claim

2.5 Creditor’s name                              Specify each creditor, including this creditor, and its relative priority.
      OnDeck                                     For Banner Bank: 1) Amazon Capital Services, Inc.; 2) LG Funding, LLC; 3) OnDeck; 4) US Small Business
                                                 Administration; 5) Paypal, Inc.; 6) Onramp; For Finished Goods: 1) Amazon Capital Services, Inc.; 2)
                                                 OnDeck; 3) US Small Business Administration; 4) Paypal, Inc.; 5) Onramp; For Mailing List and Customer
                                                 Database: 1) OnDeck; 2) US Small Business Administration; 3) Paypal, Inc.; 4) Onramp; For
                                                 tolandflags.com: 1) OnDeck; 2) US Small Business Administration; 3) Paypal, Inc.; 4) Onramp; For 1
                                                 Autobagger: 1) OnDeck; 2) US Small Business Administration; 3) Paypal, Inc.; 4) Onramp; For 1 Mat
                                                 Applicator/Bander/Sealer (Custom MO-VLAP-M): 1) CIT/Direct Capital; 2) OnDeck; 3) US Small Business
                                                 Administration; 4) Paypal, Inc.; 5) Onramp; For 2 Packaging Equipment/Machines: 1) OnDeck; 2) US Small
                                                 Business Administration; 3) Paypal, Inc.; 4) Onramp; For 5 Sublimation Printers: 1) CIT/Direct Capital; 2)
                                                 OnDeck; 3) US Small Business Administration; 4) Paypal, Inc.; 5) Onramp




Official Form 206D                 Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                           page 9 of 11




             Case 24-11395-CMA                Doc 1        Filed 06/04/24             Ent. 06/04/24 10:15:35                    Pg. 23 of 59
Debtor      Mad About Gardening, LLC                                                         Case number (if known)
          Name




  Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
 agencies, assignees of claims listed above, and attorneys for secured creditors.

 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.


 Name and address                                                                                           On which line in Part 1     Last 4 digits of
                                                                                                            did you enter the           account number
                                                                                                            related creditor?           for this entity

 CHTD Company
 PO Box 2576                                                                                                Line 2. 2
 Springfield, IL 62708-2576

 Financial Agent Services
 PO Box 2576                                                                                                Line 2. 3
 Springfield, IL 62708-2576

 CT Corporation System
 Attn: SPRS
                                                                                                            Line 2. 4
 330 N Brand Blvd Ste 700
 Glendale, CA 91203-2336

 Corporation Service Company
 PO Box 2576                                                                                                Line 2. 5
 Springfield, IL 62708-2576

 Alien Finance, LLC
 5830 E 2nd St Ste 7000 Pmb 5788                                                                            Line 2. 6
 Casper, WY 82609-4308

 CT Corporation System
 Attn: SPRS
                                                                                                            Line 2. 6
 330 N Brand Blvd Ste 700
 Glendale, CA 91203-2336

 Corporation Service Company
 PO Box 2576                                                                                                Line 2. 7
 Springfield, IL 62708-2576

 US Small Business Administration
 409 3rd St SW                                                                                              Line 2. 8
 Washington, DC 20416

 US Small Business Administration
 2401 4th Ave Ste 400                                                                                       Line 2. 8
 Seattle, WA 98121




Form 206D                             Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                          page 10 of 11
            Case 24-11395-CMA                    Doc 1        Filed 06/04/24            Ent. 06/04/24 10:15:35                  Pg. 24 of 59
Debtor      Mad About Gardening, LLC                                              Case number (if known)
         Name




 Name and address                                                                                On which line in Part 1   Last 4 digits of
                                                                                                 did you enter the         account number
                                                                                                 related creditor?         for this entity

 US Attorney's Office
 Attn: Civil Process Clerk
                                                                                                Line 2. 8
 700 Stewart St Room 5220
 Seattle, WA 98101

 US Small Business Administration
 10737 Gateway Blvd W Ste 300                                                                   Line 2. 8
 El Paso, TX 79935-4910




Form 206D                      Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                    page 11 of 11



            Case 24-11395-CMA            Doc 1       Filed 06/04/24           Ent. 06/04/24 10:15:35               Pg. 25 of 59
 Fill in this information to identify the case:

 Debtor name                       Mad About Gardening, LLC

 United States Bankruptcy Court for the:
                         Western District of Washington

 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑ No. Go to Part 2.
        ✔ Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

2.1 Priority creditor’s name and mailing address           As of the petition filing date, the claim is:      unknown                       unknown
                                                           Check all that apply.
                                                           ❑ Contingent
       Internal Revenue Service
       PO Box 7346                                         ❑ Unliquidated
       Philadelphia, PA 19101-7346                         ❑ Disputed
       Date or dates debt was incurred                     Basis for the Claim:



                                                           Is the claim subject to offset?
                                                           ✔ No
       Last 4 digits of account
                                                           ❑
                                                           ❑ Yes
       number
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)
       Remarks: Notice Only

2.2 Priority creditor’s name and mailing address           As of the petition filing date, the claim is:      unknown                       unknown
                                                           Check all that apply.
                                                           ❑ Contingent
       WA Dept. of Labor and Industries
       Collections                                         ❑ Unliquidated
       PO Box 44171                                        ❑ Disputed
       Olympia, WA 98504-4171                              Basis for the Claim:

       Date or dates debt was incurred

                                                           Is the claim subject to offset?
                                                           ✔ No
                                                           ❑
       Last 4 digits of account                            ❑ Yes
       number
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)
       Remarks: Notice Only




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 5
                 Case 24-11395-CMA                    Doc 1        Filed 06/04/24            Ent. 06/04/24 10:15:35                Pg. 26 of 59
Debtor     Mad About Gardening, LLC                                                                     Case number (if known)
           Name




 Part 1: Additional Page

2.3 Priority creditor’s name and mailing address        As of the petition filing date, the claim is:   unknown                    unknown
                                                        Check all that apply.
                                                        ❑ Contingent
      WA Dept. of Revenue
      Bankruptcy/Claims Unit                            ❑ Unliquidated
      2101 4th Ave Ste 1400                             ❑ Disputed
      Seattle, WA 98121-2379                            Basis for the Claim:

     Date or dates debt was incurred

                                                        Is the claim subject to offset?
                                                        ✔ No
                                                        ❑
     Last 4 digits of account                           ❑ Yes
     number
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a) (8)
     Remarks: Notice Only

2.4 Priority creditor’s name and mailing address        As of the petition filing date, the claim is:   unknown                    unknown
                                                        Check all that apply.
                                                        ❑ Contingent
      WA Employment Security Dept.
      UI Tax Admin                                      ❑ Unliquidated
      PO Box 9046                                       ❑ Disputed
      Olympia, WA 98507-9046                            Basis for the Claim:

     Date or dates debt was incurred

                                                        Is the claim subject to offset?
                                                        ✔ No
                                                        ❑
     Last 4 digits of account                           ❑ Yes
     number
     Specify Code subsection of PRIORITY unsecured
     claim: 11 U.S.C. § 507(a) (8)
     Remarks: Notice Only




Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                     page 2 of 5

               Case 24-11395-CMA                   Doc 1     Filed 06/04/24             Ent. 06/04/24 10:15:35              Pg. 27 of 59
Debtor        Mad About Gardening, LLC                                                                        Case number (if known)
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              unknown
                                                                            Check all that apply.
                                                                            ❑ Contingent
       Apanage Corporation

       26296 Twelve Trees Ln NW Ste B                                       ✔ Unliquidated
                                                                            ❑
       Poulsbo, WA 98370-9435
                                                                            ❑ Disputed
                                                                            Basis for the claim: Commercial Lease
                                                                            Is the claim subject to offset?
                                                                            ✔ No
       Date or dates debt was incurred
                                                                            ❑
       Last 4 digits of account number                                      ❑ Yes
3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $43,785.02
                                                                            Check all that apply.
                                                                            ❑ Contingent
       Bluevine

       401 Warren St Ste 300                                                ❑ Unliquidated
       Redwood City, CA 94063-1536
                                                                            ❑ Disputed
                                                                            Basis for the claim:
       Date or dates debt was incurred                                      Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
       Last 4 digits of account number                                      ❑ Yes
3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $1,158.00
                                                                            Check all that apply.
                                                                            ❑ Contingent
       Cox & Garcia PS

       10655 NE 4th St Ste 300                                              ❑ Unliquidated
       Bellevue, WA 98004-5086
                                                                            ❑ Disputed
                                                                            Basis for the claim: Tax Services
                                                                            Is the claim subject to offset?
                                                                            ✔ No
       Date or dates debt was incurred
                                                                            ❑
       Last 4 digits of account number                                      ❑ Yes
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $10,440.32
3.4                                                                         Check all that apply.
                                                                            ❑ Contingent
       Digital Elements DBA 8A

       11 Cornell Pl                                                        ❑ Unliquidated
       New Rochelle, NY 10804-3701
                                                                            ❑ Disputed
                                                                            Basis for the claim: Advertising
                                                                            Is the claim subject to offset?
                                                                            ✔ No
       Date or dates debt was incurred
                                                                            ❑
       Last 4 digits of account number                                      ❑ Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                              page 3 of 5

                  Case 24-11395-CMA                   Doc 1        Filed 06/04/24            Ent. 06/04/24 10:15:35                Pg. 28 of 59
Debtor     Mad About Gardening, LLC                                                                    Case number (if known)
           Name




 Part 2: Additional Page

3.5 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $85,342.62
                                                                     Check all that apply.
                                                                     ❑ Contingent
      Goldman Sachs

      PO Box 46400                                                   ❑ Unliquidated
      Salt Lake City, UT 84145
                                                                     ❑ Disputed
                                                                     Basis for the claim:
     Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                     ✔ No
                                                                     ❑
     Last 4 digits of account number     2   8   2     8             ❑ Yes
3.6 Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $1,372,340.39
                                                                     Check all that apply.
                                                                     ❑ Contingent
      Marketing Resource Group

      26296 Twelve Trees Ln NW, Ste 100                              ❑ Unliquidated
      Poulsbo, WA 98370-9435
                                                                     ❑ Disputed
                                                                     Basis for the claim: Inventory
                                                                     Is the claim subject to offset?
                                                                     ✔ No
     Date or dates debt was incurred
                                                                     ❑
     Last 4 digits of account number                                 ❑ Yes




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                         page 4 of 5

               Case 24-11395-CMA                 Doc 1       Filed 06/04/24           Ent. 06/04/24 10:15:35               Pg. 29 of 59
Debtor       Mad About Gardening, LLC                                                             Case number (if known)
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $0.00



  5b. Total claims from Part 2                                                     5b.
                                                                                          +         $1,513,066.35



  5c. Total of Parts 1 and 2                                                       5c.              $1,513,066.35
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                              page 5 of 5

                 Case 24-11395-CMA                Doc 1       Filed 06/04/24        Ent. 06/04/24 10:15:35            Pg. 30 of 59
 Fill in this information to identify the case:

 Debtor name                       Mad About Gardening, LLC

 United States Bankruptcy Court for the:
                         Western District of Washington

 Case number (if known):                                    Chapter     7                                                         ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or
                                             Commercial Real Estate                       Apanage Corporation
2.1    lease is for and the nature
       of the debtor’s interest                                                           26296 Twelve Trees Ln NW Ste B
                                             Contract to be REJECTED
                                                                                          Poulsbo, WA 98370-9435
       State the term remaining              0 months

       List the contract number of
       any government contract

       State what the contract or
2.2    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract



       State what the contract or
2.3    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract



       State what the contract or
2.4    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                                 page 1 of 1

                  Case 24-11395-CMA                  Doc 1       Filed 06/04/24            Ent. 06/04/24 10:15:35                 Pg. 31 of 59
 Fill in this information to identify the case:

  Debtor name          Mad About Gardening, LLC


  United States Bankruptcy Court for the:              Western            District of      Washington
                                                                                        (State)
  Case number (If known):                                                                                                            ❑ Check if this is an
                                                                                                                                          amended filing


Official Form 206H

Schedule H: Codebtors                                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ❑ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔ Yes
        ❑
  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                             Column 2: Creditor

                                                                                                                                      Check all schedules
         Name                               Mailing address                                             Name
                                                                                                                                      that apply:

 2.1     Solly, Bruce Warren                 1630 NW Nassau Ct                                          CIT/Direct Capital            ✔D
                                                                                                                                      ❑
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G
                                                                                                        CIT/Direct Capital            ✔D
                                                                                                                                      ❑
                                             Poulsbo, WA 98370-9408
                                                                                                                                      ❑ E/F
                                            City                  State                  ZIP Code
                                                                                                                                      ❑G
                                                                                                        US Small Business             ✔D
                                                                                                                                      ❑
                                                                                                        Administration                ❑ E/F
                                                                                                                                      ❑G
                                                                                                        Amazon Capital                ✔D
                                                                                                                                      ❑
                                                                                                        Services, Inc.                ❑ E/F
                                                                                                                                      ❑G
                                                                                                        OnDeck                        ✔D
                                                                                                                                      ❑
                                                                                                                                      ❑ E/F
                                                                                                                                      ❑G
                                                                                                        Onramp                        ✔D
                                                                                                                                      ❑
                                                                                                                                      ❑ E/F
                                                                                                                                      ❑G
                                                                                                        Paypal, Inc.                  ✔D
                                                                                                                                      ❑
                                                                                                                                      ❑ E/F
                                                                                                                                      ❑G
 2.2                                                                                                                                  ❑D
                                            Street                                                                                    ❑ E/F
                                                                                                                                      ❑G

                                            City                  State                  ZIP Code



Official Form 206H                                                 Schedule H: Codebtors                                                       page 1 of    2




             Case 24-11395-CMA                       Doc 1       Filed 06/04/24               Ent. 06/04/24 10:15:35             Pg. 32 of 59
Debtor       Mad About Gardening, LLC                                                     Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

 2.3                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.4                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.5                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.6                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     2




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4:41 PM                                       Mad About Gardening
05/23/24                                           Profit & Loss
Accrual Basis                              January 1 through May 23, 2024

                                                                              Jan 1 - May 23, 24
                   Ordinary Income/Expense
                        Income
                           43000 · Damaged/Refunds                                      -14,328.29
                           46000 · Sales FBM Amazon                                     134,286.80
                           46010 · Sales Ebay                                            37,556.95
                           46020 · Sales TolandFlags.com                                189,102.82
                           46030 · Sales Walmart                                         38,017.02
                           46040 · Sales FBA Amazon                                     136,585.89
                           46050 · Sales-Michael's                                       19,143.91
                           46055 · Sales OTC                                             11,446.80

                        Total Income                                                    551,811.90

                        Cost of Goods Sold
                          52300 · Product Samples Expense                                   245.70
                          61300 · Merchandise FBM                                        64,184.50
                          61310 · Merchandise Ebay                                       22,113.50
                          61315 · Merchandise TF.com                                    120,311.53
                          61320 · Merchandise Walmart                                    20,546.00
                          61325 · Merchandise FBA Sold                                  148,623.21
                          61335 · Merchandise Michael's                                  10,441.09
                          61340- · Merchandise-OTC                                        7,209.02

                        Total COGS                                                      393,674.55

                     Gross Profit                                                       158,137.35

                        Expense
                          51800 · Merchant Account Fees                                 132,812.19
                          60000 · Advertising and Promotion                              90,604.78
                          60410 · Onramp fees                                            18,637.36
                          60415 · Bluevine fees                                           7,885.54
                          60420 · Ondeck Fees                                            61,537.94
                          61175 · Accounting                                                125.96
                          61530 · Website Expense                                         3,500.00
                          64900 · Office Supplies                                         3,114.18
                          65000 · Insurance                                               2,182.56
                          65100 · Wages                                                  45,749.60
                          65200 · ER payroll taxes                                       18,748.09
                          65300 · L&I TAX                                                   613.08
                          66500 · Shipping                                              230,635.27
                          66550 · Amazon Inventory Storage FBA                           10,007.21
                          66700 · Professional Fees                                       3,326.93
                          67200 · Repairs and Maintenance                                    40.13

                        Total Expense                                                   629,520.82

                   Net Ordinary Income                                                 -471,383.47

                   Other Income/Expense
                     Other Expense
                        69000 · Depreciation                                              4,460.25
                        92000 · Interest Expense                                         36,037.50

                     Total Other Expense                                                 40,497.75

                   Net Other Income                                                      -40,497.75

                 Net Income                                                            -511,881.22




                                                                                                             Page 1


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 Fill in this information to identify the case:

 Debtor name                                   Mad About Gardening, LLC

 United States Bankruptcy Court for the:
                                  Western District of Washington

 Case number (if known):                                                                 Chapter            7                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                        12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                            $0.00

    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                       $242,515.18
    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                       $242,515.18




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                       $913,633.06


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                $0.00

    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +      $1,513,066.35




 4. Total liabilities..............................................................................................................................................................................               $2,426,699.41
    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                          page 1
                       Case 24-11395-CMA                                      Doc 1              Filed 06/04/24                         Ent. 06/04/24 10:15:35                                    Pg. 35 of 59
 Fill in this information to identify the case:

 Debtor name                         Mad About Gardening, LLC

 United States Bankruptcy Court for the:
                          Western District of Washington

 Case number (if known):                                                                                                       ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ✔ Operating a business
                                                                                         ❑                                                    $551,811.90
                                        From 01/01/2024
                                                                                         ❑ Other
       fiscal year to filing date:                                to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                  From 01/01/2023           to    12/31/2023       ✔ Operating a business
                                                                                         ❑                                                 $1,711,387.24
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other

       For the year before that:        From 01/01/2022           to    12/31/2022       ✔ Operating a business
                                                                                         ❑                                                 $1,691,381.15
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:      From 01/01/2024           to    Filing date
                                                  MM/ DD/ YYYY


      For prior year:                  From 01/01/2023           to    12/31/2023
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY


      For the year before that:        From 01/01/2022           to    12/31/2022
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY



Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1


                   Case 24-11395-CMA                     Doc 1          Filed 06/04/24        Ent. 06/04/24 10:15:35            Pg. 36 of 59
Debtor           Mad About Gardening, LLC                                                                   Case number (if known)
                 Name

 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ❑ None
         Creditor’s name and address                     Dates             Total amount or value          Reasons for payment or transfer
                                                                                                          Check all that apply

 3.1.   Onramp                                           2/1/24 to                  $50,672.73            ❑ Secured debt
        Creditor's name                                  Present                                          ✔ Unsecured loan repayments
                                                                                                          ❑
        1705 S Capital of Texas Hwy                                                                       ❑ Suppliers or vendors
        Street
                                                                                                          ❑ Services
                                                                                                          ❑ Other
        Austin, TX 78746-6578
        City                       State    ZIP Code

 3.2.   OnDeck                                           2/1/24 to                 $211,271.30            ✔ Secured debt
                                                                                                          ❑
        Creditor's name                                  Present                                          ❑ Unsecured loan repayments
        4700 W Daybreak Pkwy Ste 200                                                                      ❑ Suppliers or vendors
        Street
                                                                                                          ❑ Services
        Attn: Director of Operations
                                                                                                          ❑ Other
        South Jordan, UT 84009-5133
        City                       State    ZIP Code

 3.3.   Bluevine                                         2/1/24 to                  $43,183.61            ❑ Secured debt
        Creditor's name                                  Present                                          ✔ Unsecured loan repayments
                                                                                                          ❑
        401 Warren St Ste 300                                                                             ❑ Suppliers or vendors
        Street
                                                                                                          ❑ Services
                                                                                                          ❑ Other
        Redwood City, CA 94063-1536
        City                       State    ZIP Code

 3.4.   Amazon Capital Services, Inc.                    2/1/24 to                  $42,113.31            ✔ Secured debt
                                                                                                          ❑
        Creditor's name                                  Present                                          ❑ Unsecured loan repayments
        410 Terry Ave N                                                                                   ❑ Suppliers or vendors
        Street
                                                                                                          ❑ Services
                                                                                                          ❑ Other
        Seattle, WA 98109
        City                       State    ZIP Code

 3.5.   Goldman Sachs                                    2/1/24 to                  $85,961.41            ❑ Secured debt
        Creditor's name                                  Present                                          ✔ Unsecured loan repayments
                                                                                                          ❑
        PO Box 46400                                                                                      ❑ Suppliers or vendors
        Street
                                                                                                          ❑ Services
                                                                                                          ❑ Other
        Salt Lake City, UT 84145
        City                       State    ZIP Code




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2




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Debtor           Mad About Gardening, LLC                                                                      Case number (if known)
                 Name


 3.6.   US Small Business Administration                   2/1/24 to                 $494,855.61             ✔ Secured debt
                                                                                                             ❑
        Creditor's name                                    Present                                           ❑ Unsecured loan repayments
        14925 Kingsport Rd                                                                                   ❑ Suppliers or vendors
        Street
                                                                                                             ❑ Services
        CESC - COVID EIDL Service Center
                                                                                                             ❑ Other
        Fort Worth, TX 76155-2243
        City                        State    ZIP Code

 3.7.   Marketing Resource Group, Inc.                     2/1/24 to                 $989,469.24             ❑ Secured debt
        Creditor's name                                    Present                                           ❑ Unsecured loan repayments
        26296 Twelve Trees Ln NW, Ste 100                                                                    ✔ Suppliers or vendors
                                                                                                             ❑
        Street
                                                                                                             ❑ Services
                                                                                                             ❑ Other
        Poulsbo, WA 98370-9435
        City                        State    ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ❑ None
         Insider’s name and address                        Dates             Total amount or value           Reasons for payment or transfer


 4.1.   Marketing Resource Group                           April 2023                $779,098.76             Vendor - Payment for Inventory
        Creditor's name                                    to April
        26296 Twelve Trees Ln Nw Ste 100                   2024
        Street



        Poulsbo, WA 98370-9435
        City                        State    ZIP Code

         Relationship to debtor

        Same Ownership

 4.2.   Bruce Solly                                        April 2023                 $48,383.87             Payroll
        Creditor's name                                    to April
        1630 NW Nassau Ct                                  2024
        Street



        Poulsbo, WA 98370-9408
        City                        State    ZIP Code

         Relationship to debtor

        Owner




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 3

                    Case 24-11395-CMA                   Doc 1      Filed 06/04/24            Ent. 06/04/24 10:15:35                 Pg. 38 of 59
Debtor           Mad About Gardening, LLC                                                                         Case number (if known)
                 Name


 4.3.   Traci Tanner                                        April 2023                  $29,912.40              Payroll
        Creditor's name                                     to April
        1630 NW Nassau Ct                                   2024
        Street



        Poulsbo, WA 98370-9408
        City                        State     ZIP Code

         Relationship to debtor

        Spouse of Owner


 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the property                                Date                    Value of property


 5.1.
        Creditor's name


        Street




        City                        State     ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                        State     ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ✔ None
        ❑




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Debtor           Mad About Gardening, LLC                                                                      Case number (if known)
                 Name
 7.1.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

                                                                                                                                          ❑ Pending
                                                                                      Name
                                                                                                                                          ❑ On appeal
         Case number                                                                                                                      ❑ Concluded
                                                                                      Street




                                                                                      City                          State   ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑
 8.1.    Custodian’s name and address                     Description of the property                         Value


        Custodian’s name
                                                          Case title                                          Court name and address
        Street
                                                                                                             Name

                                                          Case number
                                                                                                             Street
        City                        State     ZIP Code



                                                          Date of order or assignment                        City                        State    ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.     List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
        to that recipient is less than $1,000
        ✔ None
        ❑
 9.1.    Recipient’s name and address                      Description of the gifts or contributions                  Dates given         Value


        Recipient’s name


        Street




        City                        State     ZIP Code


         Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
        ✔ None
        ❑




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            page 5


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Debtor            Mad About Gardening, LLC                                                                       Case number (if known)
                  Name

           Description of the property lost and how the         Amount of payments received for the loss                     Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                           lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None
 11.1.    Who was paid or who received the transfer?             If not money, describe any property transferred           Dates               Total amount or
                                                                                                                                               value

         Scordato Law, PLLC                                     Attorney’s Fee                                            5/7/2024                     $2,500.00

          Address                                               Filing Fee                                                                               $338.00

         Po Box 1962
         Street



         Seattle, WA 98111-1962
         City                        State    ZIP Code


          Email or website address

         kathryn@scordatolaw.com

          Who made the payment, if not debtor?




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                             Describe any property transferred                         Dates transfers       Total amount or
                                                                                                                         were made             value




           Trustee




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Debtor          Mad About Gardening, LLC                                                                         Case number (if known)
                Name



 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑
 13.1.    Who received the transfer?                           Description of property transferred or payments           Date transfer    Total amount or
                                                               received or debts paid in exchange                        was made         value




          Address


         Street




         City                        State       ZIP Code


          Relationship to debtor




 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ✔ Does not apply
         ❑
          Address                                                                                           Dates of occupancy

 14.1.
                                                                                                           From                      To
         Street




         City                        State       ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.




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Debtor            Mad About Gardening, LLC                                                                       Case number (if known)
                  Name

          Facility name and address                       Nature of the business operation, including type of services the         If debtor provides meals
                                                          debtor provides                                                          and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street                                           Location where patient records are maintained(if different from          How are records kept?
                                                          facility address). If electronic, identify any service provider.
         City                     State     ZIP Code                                                                              Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ❑ No.
         ✔ Yes. State the nature of the information collected and retained. Name, address, and email address
         ❑
                    Does the debtor have a privacy policy about that information?
                    ❑ No
                    ✔ Yes
                    ❑
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Does the debtor serve as plan administrator?
                ❑ No. Go to Part 10.
                ❑ Yes. Fill in below:
                         Name of plan                                                                 Employer identification number of the plan

                                                                                                     EIN:        –

                          Has the plan been terminated?
                          ❑ No
                          ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
         or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
         cooperatives, associations, and other financial institutions.
         ✔ None
         ❑
          Financial institution name and address            Last 4 digits of account     Type of account             Date account was          Last balance
                                                            number                                                   closed, sold, moved,      before closing
                                                                                                                     or transferred            or transfer

 18.1
                                                            XXXX–                       ❑ Checking
         Name
                                                                                        ❑ Savings
                                                                                        ❑ Money market
                                                                                        ❑ Brokerage
         Street


                                                                                        ❑ Other
         City                       State   ZIP Code


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Debtor            Mad About Gardening, LLC                                                                         Case number (if known)
                  Name
 19. Safe deposit boxes
         List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
         ✔ None
         ❑
 19.1     Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                           Address

         City                      State     ZIP Code


 20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
         debtor does business.
         ✔ None
         ❑
 20.1     Facility name and address                        Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                           Address

         City                      State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
         leased or rented property.
         ✔ None
         ❑
          Owner’s name and address                                Location of the property                     Description of the property                 Value



         Name


         Street




         City                        State     ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.

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Debtor         Mad About Gardening, LLC                                                                     Case number (if known)
               Name
     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
     harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Case title                               Court or agency name and address                     Nature of the case                         Status of case

                                                                                                                                                 ❑ Pending
         Case number
                                                 Name
                                                                                                                                                 ❑ On appeal
                                                                                                                                                 ❑ Concluded
                                                 Street




                                                 City                        State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                    Governmental unit name and address                   Environmental law, if known                Date of notice



      Name                                       Name


      Street                                     Street




      City                 State   ZIP Code      City                        State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                    Governmental unit name and address                   Environmental law, if known                Date of notice



      Name                                       Name


      Street                                     Street




      City                 State   ZIP Code      City                        State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
      List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
      information even if already listed in the Schedules.
      ✔ None
      ❑




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Debtor           Mad About Gardening, LLC                                                                  Case number (if known)
                 Name

          Business name and address                Describe the nature of the business                       Employer Identification number
                                                                                                             Do not include Social Security number or ITIN.
 25.1.
                                                                                                            EIN:          –
         Name
                                                                                                             Dates business existed

         Street
                                                                                                            From                  To



         City               State   ZIP Code


 26. Books, records, and financial statements
 26a.     List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          ❑None
           Name and address                                                                                   Dates of service

 26a.1. Cori Boyd                                                                                            From 2012              To Present
          Name
          112 Cressey Ln
          Street



          Port Ludlow, WA 98365-8210
          City                                         State                  ZIP Code

           Name and address                                                                                   Dates of service

 26a.2. Jan Kallshian                                                                                        From 2010              To Present
          Name
          20133 33rd Ave NE
          Street



          Arlington, WA 98223-4249
          City                                         State                  ZIP Code

           Name and address                                                                                   Dates of service

 26a.3. Bruce Solly                                                                                          From 2009              To Present
          Name
          1630 NW Nassau Ct
          Street



          Poulsbo, WA 98370-9408
          City                                         State                  ZIP Code


 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
          statement within 2 years before filing this case.
          ❑None
           Name and address                                                                                   Dates of service

 26b.1. Cori Boyd                                                                                            From 2012              To Present
          Name
          112 Cressey Ln
          Street



          Port Ludlow, WA 98365-8210
          City                                         State                  ZIP Code




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Debtor           Mad About Gardening, LLC                                                                    Case number (if known)
                 Name

           Name and address                                                                                     Dates of service

 26b.2. Jan Kallshian                                                                                          From 2010              To Present
          Name
          20133 33rd Ave Ne
          Street



          Arlington, WA 98223-4249
          City                                          State                   ZIP Code

           Name and address                                                                                     Dates of service

 26b.3. Bruce Solly                                                                                            From 2009              To Present
          Name
          1630 NW Nassau Ct
          Street



          Poulsbo, WA 98370-9408
          City                                          State                   ZIP Code


 26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
          ❑None
           Name and address                                                                                     If any books of account and records are
                                                                                                                unavailable, explain why
 26c.1.
          Bruce Solly
          Name
          1630 NW Nassau Ct
          Street



          Poulsbo, WA 98370-9408
          City                                          State                   ZIP Code

 26d.     List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
          statement within 2 years before filing this case.
          ✔None
          ❑
           Name and address

 26d.1.

          Name


          Street




          City                                          State                   ZIP Code


 27. Inventories
        Have any inventories of the debtor’s property been taken within 2 years before filing this case?
        ✔ No
        ❑
        ❑ Yes. Give the details about the two most recent inventories.
          Name of the person who supervised the taking of the inventory                          Date of         The dollar amount and basis (cost, market, or
                                                                                                 inventory       other basis) of each inventory




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 12

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Debtor          Mad About Gardening, LLC                                                                          Case number (if known)
                Name


          Name and address of the person who has possession of inventory records

 27.1.

         Name


         Street




         City                                       State                 ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
          Name                            Address                                                          Position and nature of any              % of interest, if any
                                                                                                           interest

         Bruce Solly                     1630 NW Nassau Ct Poulsbo, WA                                    Sole and Managing                                  100.00%
                                         98370-9408                                                       Member, Equity

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ✔ No
         ❑
         ❑ Yes. Identify below.
          Name                            Address                                                       Position and nature of any         Period during which
                                                                                                        interest                           position or interest was
                                                                                                                                           held

                                                                                                    ,                                       From
                                                                                                                                            To

 30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
         credits on loans, stock redemptions, and options exercised?
         ❑ No
         ✔ Yes. Identify below.
         ❑
          Name and address of recipient                                          Amount of money or description            Dates                   Reason for providing
                                                                                 and value of property                                             the value


 30.1. Bruce Solly                                                                                         $48,383.87     April 2023 to          Payroll
         Name                                                                                                             April 2024
         1630 NW Nassau Ct
         Street



         Poulsbo, WA 98370-9408
         City                                     State        ZIP Code


          Relationship to debtor

         Owner




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Debtor       Mad About Gardening, LLC                                                                           Case number (if known)
             Name

         Name and address of recipient                                            Amount of money or description          Dates             Reason for providing
                                                                                  and value of property                                     the value


 30.2. Traci Tanner                                                                                        $29,912.40    April 2023 to     Payroll
      Name                                                                                                               April 2024
      1630 NW Nassau Ct
      Street



      Poulsbo, WA 98370-9408
      City                                           State         ZIP Code


         Relationship to debtor

      Spouse of Owner

 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
      ✔ No
      ❑
      ❑ Yes. Identify below.
             Name of the parent corporation                                                          Employer Identification number of the parent corporation

                                                                                                    EIN:        –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
      ✔ No
      ❑
      ❑ Yes. Identify below.
             Name of the pension fund                                                                Employer Identification number of the pension fund

                                                                                                    EIN:        –



 Part 14: Signature and Declaration


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on         06/04/2024
                     MM/ DD/ YYYY




    ✘ /s/ Bruce W. Solly                                                  Printed name                     Bruce W. Solly
         Signature of individual signing on behalf of the debtor



      Position or relationship to debtor   Owner/Managing Member



    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




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                                                   United States Bankruptcy Court
                                                     Western District of Washington

In re   Mad About Gardening, LLC                                                                   Case No.
                                                                          Debtor(s)                Chapter                      7



                                     CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or recusal, the
undersigned counsel for              Mad About Gardening, LLC               in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of the corporation's(s')
equity interests, or states that there are no entities to report under FRBP 7007.1:




✔ None [Check if applicable]
❑


             06/04/2024                                           /s/ Kathryn P. Scordato
Date                                              Kathryn P. Scordato
                                                  Signature of Attorney or Litigant
                                                  Counsel for      Mad About Gardening, LLC
                                                  Bar Number: 41922
                                                  Scordato Law, PLLC
                                                  PO Box 1962
                                                  Seattle, WA 98111-1962
                                                  Phone: (206) 223-9595
                                                  Email: kathryn@scordatolaw.com




                                                                          1




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                                     UNITED STATES BANKRUPTCY COURT
                                     WESTERN DISTRICT OF WASHINGTON
                                             SEATTLE DIVISION

IN RE:                                                                               CHAPTER 7
Mad About Gardening, LLC

DEBTOR(S)                                                                            CASE NO


                                            LIST OF EQUITY SECURITY HOLDERS


Registered Name of Holder of Security               Class of Security         Number Registered            Kind of Interest
Last Known Address or Place of Business                                                                    Registered

Bruce W. Solly                                      Sole and Managing         1000                         Equity
1630 NW Nassau Ct.                                  Member
Poulsbo, WA 98370

                                  DECLARATION UNDER PENALTY OF PERJURY
                                ON BEHALF OF A CORPORATION OR PARTNERSHIP

  I, the                  Owner/Managing Member             of the                    Nonpublic Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true
and correct to the best of my information and belief.



Date: 06/04/2024                                     Signature: /s/ Bruce W. Solly
                                                                 Bruce W. Solly, Owner/Managing Member




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                                                            United States Bankruptcy Court
                                                                             Western District of Washington

In re        Mad About Gardening, LLC

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                       7


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        ✔ FLAT FEE
        ❑
        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $2,500.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $2,500.00

        Balance Due ................................................................................................................................................            $0.00


        ❑ RETAINER
        For legal services, I have agreed to accept and received a retainer of ............................................................................................................................

        The undersigned shall bill against the retainer at an hourly rate of ..................................................................................................................................
        [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved fees and
        expenses exceeding the amount of the retainer.

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;




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B2030 (Form 2030) (12/15)


      c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following services:

      The “no look” fee does not include the following services:
      i. Responding to any motions regardless of the filing party, including, but not limited to, the following: Motion for Relief from Stay, Motion
      to Abandon Property, and Motion for Redemption of Property
      ii. Adversary Proceedings of any kind
      iii. Responding to and/or Representation at Bankruptcy Rule 2004 Examinations
      iv. Amendments to Bankruptcy Schedules or Statements after filing
      v. Preparation and/or Review of Reaffirmation Agreements
      vi. Services Related to Recovery of Garnished Funds and/or Motions or Adversary Proceedings for Turnover of Estate Property
      vii. Judgment Lien Avoidance or Lien Stripping
      viii. Reopening of the Bankruptcy Case for any reason, including for entry of discharge
      ix. Adding additional creditors to a filed bankruptcy case
      x. Any other miscellaneous motion or adversary matter not described above.


                                                                 CERTIFICATION

                         I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                 me for representation of the debtor(s) in this bankruptcy proceeding.

                          06/04/2024                                               /s/ Kathryn P. Scordato
                 Date                                            Kathryn P. Scordato
                                                                 Signature of Attorney
                                                                                                     Bar Number: 41922
                                                                                                    Scordato Law, PLLC
                                                                                                           PO Box 1962
                                                                                                 Seattle, WA 98111-1962
                                                                                                  Phone: (206) 223-9595

                                                                                   Scordato Law, PLLC
                                                                Name of law firm




                                                                     Page 2 of 2




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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                    WESTERN DISTRICT OF WASHINGTON
                                                            SEATTLE DIVISION

IN RE: Mad About Gardening, LLC                                                       CASE NO

                                                                                      CHAPTER 7




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date     06/04/2024             Signature                                /s/ Bruce W. Solly
                                                                Bruce W. Solly, Owner/Managing Member




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                            Alien Finance, LLC
                            5830 E 2nd St Ste 7000 Pmb 5788
                            Casper, WY 82609-4308




                            Amazon Capital Services, Inc.
                            410 Terry Ave N
                            Seattle, WA 98109




                            Apanage Corporation
                            26296 Twelve Trees Ln NW Ste B
                            Poulsbo, WA 98370-9435




                            Bluevine
                            401 Warren St Ste 300
                            Redwood City, CA 94063-1536




                            CHTD Company
                            PO Box 2576
                            Springfield, IL 62708-2576




                            CIT/Direct Capital
                            155 Commerce Way
                            Portsmouth, NH 03801-3243




                            Corporation Service Company
                            PO Box 2576
                            Springfield, IL 62708-2576




                            Cox & Garcia PS
                            10655 NE 4th St Ste 300
                            Bellevue, WA 98004-5086




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                            CT Corporation System
                            Attn: SPRS
                            330 N Brand Blvd Ste 700
                            Glendale, CA 91203-2336



                            Digital Elements DBA 8A
                            11 Cornell Pl
                            New Rochelle, NY 10804-3701




                            Financial Agent Services
                            PO Box 2576
                            Springfield, IL 62708-2576




                            Goldman Sachs
                            PO Box 46400
                            Salt Lake City, UT 84145




                            Internal Revenue Service
                            PO Box 7346
                            Philadelphia, PA 19101-7346




                            Internal Revenue Service
                            Po Box 7346
                            Philadelphia, PA 19101-7346




                            King Co. Treasury
                            201 S Jackson St Ste 710
                            Seattle, WA 98104-3854




                            LG Funding, LLC
                            1218 Union St
                            Brooklyn, NY 11225-1512




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                            Marketing Resource Group
                            26296 Twelve Trees Ln NW, Ste 100
                            Poulsbo, WA 98370-9435




                            OnDeck
                            Attn: Director of Operations
                            4700 W Daybreak Pkwy Ste 200
                            South Jordan, UT 84009-5133



                            Onramp
                            1705 S Capital of Texas Hwy
                            Austin, TX 78746-6578




                            Paypal, Inc.
                            Attn: Legal Specialists
                            PO Box 45950
                            Omaha, NE 68145-0950



                            Bruce Warren Solly
                            1630 NW Nassau Ct
                            Poulsbo, WA 98370-9408




                            US Attorney's Office
                            Attn: Civil Process Clerk
                            700 Stewart St Room 5220
                            Seattle, WA 98101



                            US Attorney's Office
                            Attn: Bankruptcy Assistant
                            700 Stewart St Room 5220
                            Seattle, WA 98101



                            US Small Business
                            Administration
                            CESC - COVID EIDL Service Center
                            14925 Kingsport Rd
                            Fort Worth, TX 76155-2243




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                            US Small Business
                            Administration
                            409 3rd St SW
                            Washington, DC 20416



                            US Small Business
                            Administration
                            2401 4th Ave Ste 400
                            Seattle, WA 98121



                            US Small Business
                            Administration
                            10737 Gateway Blvd W Ste 300
                            El Paso, TX 79935-4910



                            WA Dept. of Labor and
                            Industries
                            Collections
                            PO Box 44171
                            Olympia, WA 98504-4171


                            WA Dept. of Labor and
                            Industries
                            Collections
                            Po Box 44171
                            Olympia, WA 98504-4171


                            WA Dept. of Revenue
                            Bankruptcy/Claims Unit
                            2101 4th Ave Ste 1400
                            Seattle, WA 98121-2379



                            WA Employment Security
                            Dept.
                            UI Tax Admin
                            PO Box 9046
                            Olympia, WA 98507-9046


                            WA Employment Security
                            Dept.
                            UI Tax Admin
                            Po Box 9046
                            Olympia, WA 98507-9046




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                            WA Office of the Attorney
                            General
                            Bankruptcy & Collections Unit
                            800 5th Ave Ste 2000
                            Seattle, WA 98104-3188




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